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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


NAPLETON’S ARLINGTON HEIGHTS
MOTORS, INC. f/k/a NAPLETON’S
PALATINE MOTORS, INC. d/b/a
NAPLETON’S ARLINGTON HEIGHTS
CHRYSLER DODGE JEEP RAM, an
Illinois corporation; NAPLETON’S RIVER
OAKS MOTORS, INC. d/b/a NAPLETON’S
RIVER OAKS CHRYSLER DODGE JEEP
RAM, an Illinois corporation; CLERMONT
MOTORS, LLC d/b/a NAPLETON’S
CLERMONT CHRYSLER DODGE JEEP
RAM, an Illinois limited liability company;
NAPLETON’S NORTH PALM AUTO
PARK, INC. d/b/a NAPLETON’S
NORTHLAKE CHRYSLER DODGE JEEP
RAM, an Illinois corporation; NAPLETON        Case No. 1:16-cv-00403-VMK-SMF
ENTERPRISES, LLC d/b/a NAPLETON’S
SOUTH ORLANDO CHRYSLER DODGE
JEEP RAM, an Illinois limited liability
company; NAPLETON’S MID RIVERS
MOTORS, INC. d/b/a NAPLETON’S MID
RIVERS CHRYSLER DODGE JEEP RAM,
an Illinois corporation; NAPLETON’S
ELLWOOD MOTORS, INC. d/b/a
NAPLETON’S ELLWOOD CHRYSLER
DODGE JEEP RAM, an Illinois corporation,

              Plaintiffs,

       v.

FCA US LLC, a Delaware corporation,

              Defendant.



            JOINT STIPULATION REGARDING PROTECTED DOCUMENTS
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       IT IS HEREBY STIPULATED AND AGREED, pursuant to Rule 26(c) of the Federal

Rules of Civil Procedure, by and among the parties hereto, through their undersigned counsel,

that the following provisions shall govern the use of unredacted versions of the documents at

FCA_Napleton_00037499-664 and FCA_Napleton_00069007-34 (to be reproduced in

unredacted form at FCA_Napleton_00089330-523).


       1.      Plaintiffs will not show unredacted versions or disclose the redacted content of the

aforementioned documents during any deposition, including any deposition of any employee of

FCA US LLC (“FCA”), without providing advance notice of at least four (4) business days to

counsel for FCA.


       2.      The treatment of these documents is otherwise governed by the terms of the

Agreed Confidentiality Order (Dkt. 88) (“ACO”). Other than as provided in paragraph 1 of this

Joint Stipulation, the obligations of the parties under the ACO with regard to the aforementioned

documents are unchanged.


       3.      By entering into this stipulation, Plaintiffs do not agree that FCA’s confidentiality

designations are proper, and Plaintiffs reserve their rights to challenge those designations at a

later time as needed. But Plaintiffs will treat the documents according to FCA’s current

designations until the Court may order otherwise.




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Dated: January 30, 2018

                                                    Respectfully submitted,


 FCA US LLC                                         The Napleton Plaintiffs

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                               CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the CM/ECF system will be served upon

counsel for Plaintiffs electronically via the CM/ECF system on January 30, 2018.



                                            /s/ Robert D. Cultice




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